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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO


RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

        Plaintiff,

v.                                                   Civ. No. 12-758 JAP/ACT

TESLA MOTORS, INC., a Delaware
corporation,

        Defendant.


                      ORDER AMENDING CASE MANAGEMENT DEADLINES

        THIS MATTER came before the Court on a Rule 16 Discovery Status Conference on December 17,

2012. Christopher Pacheco appeared on behalf of the Plaintiff and Andrew Schultz appeared on behalf of the

Defendants. After conferring with counsel, the Court amended the case management deadlines as follows:

        a)       Defendant’s Rule 26 (a)(2) expert disclosure1:                         January 31, 2013

        b)       Termination date for discovery:                                        March 1, 2013

        c)       Motions relating to discovery to be filed by:                          March 11, 2013

        All other case management deadlines will remain in place. Any extension of the case management

deadlines must be approved by the Court. Any requests for additional discovery must be submitted to the

Court by motion prior to the expiration of the discovery deadline.




        1
          All expert witnesses must be disclosed by this date, but only those who are retained or specifically
employed to provide expert testimony must submit an expert report. See Fed. R. Civ. P. 26(a)(2)(B); Musser v.
Gentiva Health Servs., 356 F.3d 751 (7th Cir. 2004); Farris v. Intel Corp., 493 F.Supp. 2d 1174 (D.N.M. 2007), and
Blodgett v. United States, 2008 WL 1944011 (D. Utah). Treating physicians testifying as to causation and diagnosis
may provide expert testimony under Rule 702 of the Federal Rules of Evidence without providing a report and the
other disclosures required under Rule 26, providing they limit “the scope of their opinion testimony to conclusions
drawn from their own examination and treatment of the patient.” Jacks v. Regis Corp., Civ. No. 99-1391,
Memorandum Opinion and Order at 2 (D.N.M. April 2001) (Smith, M.J.); Sturgeon v. ABF Freight Systems, Inc.,
Civ. No. 02-1317, Memorandum Opinion and Order at 2-4 (D.N.M., Jan. 2004) (Browning, J.O.). The parties must
have their expert(s) ready to be deposed at the time they identify them and provide their reports.
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       The Rule 16 Settlement Conference will proceed as scheduled on Thursday, March 7, 2013, at 9:30

a.m.

       IT IS SO ORDERED.

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                                                      ALAN C. TORGERSON
                                                      United States Magistrate Judge




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